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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                     AMARILLO DIVISION

UNITED STATES OF AMERICA                             §
                                                     §
         Plaintiff,                                  §
                                                     §
v.                                                   §    2:24-cr-00022-Z-BR (1)
                                                     §
NICKOLAS GARRET O'BRIEN (1)                          §
                                                     §
         Defendant.                                  §

                                                ORDER

            On April 3, 2024, Defendant filed a Waiver of Appearance at Arraignment and Entry of

     Not Guilty Plea (ECF No. 24). Based on these papers and pursuant to Rule 10(b) of the Federal

     Rules of Criminal Procedure, this court hereby FINDS that Defendant NICKOLAS GARRET

     O'BRIEN (1) received a copy of the indictment, (2) discussed with counsel all charges and counts

     in the indictment, (3) understands the charges, counts, and maximum penalties under law, (4)

     understands the purposes of arraignment and the right to be present for the arraignment, but

     expressly elected to WAIVE the right to be present at arraignment, and (5) ENTERS a plea of “not

     guilty” to all charges and counts in the indictment, Criminal No. 2:24-cr-00022-Z-BR.

     Accordingly, this court hereby ACCEPTS and GRANTS Defendant’s Waiver of Appearance and

     Entry of Not Guilty Plea (ECF No. 24).

            IT IS SO ORDERED.

            Entered on April 3, 2024.



                                                         LEE ANN RENO
                                                         UNITED STATES MAGISTRATE JUDGE




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